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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                                                 CRIMINAL NO.

EVELYN JACKSON

                                              ORDER

        This matter is before the court on motion of the defendant, Evelyn Jackson, for a bill of

particulars (# 32). Also before the court is a motion of the defendant, Evelyn Jackson, to produce

the name of the confidential informant (# 33). After considering the motions and the responses

thereto, the court finds as follows:

                                         Bill of Particulars

        Rule 7(c)(1) of the Federal Rules of Criminal Procedure requires that the indictment

be a “plain, concise and definite written statement of the essential facts constituting the offense

charged.” The adequacy of an indictment is determined “by whether (1) each count contains the

essential elements of the offense charged, (2) the elements are described with particularity, . . .

(3) the charge is specific enough to protect the defendant against a subsequent prosecution for the

same offense.” United States v. Ellender, 947 F.2d 748, 755 (5th Cir. 1991) (quoting United

States v. Lavergne, 805 F.2d 517, 521 (5th Cir. 1983)). Further, to comply with Rule 7(c), an

indictment need not provide the evidentiary details of the government’s case. Lavergne, 805

F.2d at 521. An indictment that identifies a range of dates and a generalized area, such as the

Northern District of Mississippi, is sufficiently particular to establish the dates and location of

the conspiracy. Ellender, 947 F.2d at 755-56.



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       It is well settled that in an indictment for conspiring to commit an offense in which

conspiracy is the gist of the crime, it is not necessary to allege with technical precision all of the

elements essential to the commission of the crime that is the object of the conspiracy. United

States v. Bragg, 980 F.2d 1443 (5th Cir. 1991) (citing Wong Tai v. United States, 273 U.S. 77, 81

(1927)). Moreover, if the indictment alleges a conspiracy to distribute drugs, it need not allege

an overt act in furtherance of a conspiracy so long as it charges the offense in the words of 21

U.S.C. § 846, names the statute violated, and specifies the duration of the conspiracy’s operation.

United States v. Kahn, 728 F.2d 676, 680 (5th Cir. 1984).

       The court has discretion to order a bill of particulars, but the defendant does not possess a

right to a bill of particulars. United States v. Burgin, 621 F.2d 1352, 1358 (5th Cir. 1980). The

bill of particulars is not an instrument designed to compel the government to provide a detailed

explanation of its legal theories or to produce its evidence. Burgin, 621 F.2d at 1358.

       In the present case, the defendant is charged in Count Two of the indictment with the

crime of knowingly and willingly conspiring to commit the offense of distributing a particular

amount of a controlled substance during a finite period of time in this district. Conspiracy to

distribute a controlled substance is a crime under 21 U.S.C. § 846, and the distribution of a

controlled substance is a crime under 21 U.S.C. § 841(a). Conspiracy to commit a criminal

offense is separately chargeable, and in Count Two of the indictment the government specified

that the object of the alleged conspiracy between the defendant and her co-conspirators was to

distribute controlled substances in violation of 21 U.S.C. § 841(a). The government also

identified the penalties for the distribution of certain amounts of the controlled substances. See

U.S.C. 21 U.S.C. § 841(b)(1)(B).


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       Count Two identifies with sufficient particularity the elements of the crime of conspiracy

to distribute a controlled substance. The indictment alleges that the conspiracy occurred between

February 26, 2009 and March 5, 2009 in the Northern District of Mississippi and elsewhere.

This time period – approximately one week – is a relatively short period of time compared to

typical conspiracy charges before this court. The indictment also identifies five of the

defendant’s co-conspirators by name and the amount and type of controlled substances they

allegedly possessed with the intent to distribute. Finally, the government identified the criminal

statutes under which the defendant is charged. Therefore, the court finds that there is sufficient

detail to allow defendant to initiate her defense against the crime with which she is charged in

Count Two of the indictment.

                                     Confidential Informant

       Next, the defendant moves for an order requiring the government to produce the name of

any confidential(s) informant used in the investigation. The government responds, pointing out

that neither Rule 7 nor Rule 16 of the Federal Rules of Criminal Procedure requires disclosure of

witnesses. Additionally, the Fifth Circuit has held that “Rule 16, which addresses the scope and

manner of criminal discovery, makes no provision for the production of names and addresses of

witnesses for the government.” United States v. Fischel, 686 F.2d 1082, 1090 (5th Cir. 1982).

Although there is no bright line rule regarding disclosure of the identity of confidential

informants in a criminal prosecution, the court must balance a “public interest in protecting the

flow of information with an individuals right to prepare his defense.” Roviaro v. United States,

353 U.S. 53, 62 (1957). Relevant factors the court considers include the level of involvement in

the alleged criminal activity; the helpfulness of disclosure to any asserted defense; and the


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government’s interest in non-disclosure. United States v. Wilson, 77 F.3d 105, 111 (5th Cir.

1996).

         The defendant argues she needs the information to “test the informant’s credibility,

ascertain his general relationship to others charged herein, discover the entire scope of his

meetings, conversations and contacts with the principals herein, and to investigate the

informant’s allegations.” The court finds this type of information is best obtained through

discovery or cross-examination at trial, but the need for such information is not sufficient

grounds for disclosure of the identity of a confidential informant. The defendant has not

articulated any way disclosure would assist her in a particular defense. Additionally, the

government explains that disclosure of the informant’s identity could place the informant in

danger. Safety of an informant is an important factor to consider and disclosure of a name in

such a situation could have a direct effect on an informant’s testimony. See United States v.

Orozco, 982 F.2d 152 (5th Cir. 1993).

         The present case is a straightforward one with a conspiracy charged that allegedly lasted

no more than one week. Five co-conspirators are named in the indictment, and the amount and

type of drugs charged are described in the indictment. Because the court finds the interests of the

government protecting the flow of information outweighs the defendant’s need for the

informant’s identity, the court finds the defendant’s motion is not well taken.



         IT IS, THEREFORE, ORDERED that the defendant’s motion for a bill of particulars

(# 32) is hereby DENIED.

         IT IS FURTHER ORDERED that the defendant’s motion to produce the identity of the


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confidential informant (# 33) is hereby DENIED.

       SO ORDERED, this the 5th day of June 2009.



                                                    /s/ David A. Sanders
                                                    UNITED STATES MAGISTRATE JUDGE




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